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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


                                            :
FEDERAL TRADE COMMISSION                    :
                                            :
                       Plaintiff,           :
                                            :
                       v.                   :   C.A. No. 1:17-cv-00131-RGA
                                            :
SHIRE VIROPHARMA INC.                       :
                                            :
                                            :
                       Defendant.
                                            :




                    REPLY BRIEF IN FURTHER SUPPORT OF
                MOTION TO DISMISS BY SHIRE VIROPHARMA INC.




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       ViroPharma’s opening brief established that the Complaint must be dismissed for two

independently dispositive reasons. First, the FTC has not alleged facts establishing that there is

“reason to believe” ViroPharma “is violating, or is about to violate” the law, as required for the

FTC to “bring suit in a district court” pursuant to Section 13(b) of the Federal Trade Commission

Act (“FTC Act”), 15 U.S.C. § 53(b). Second, the conduct at issue is categorically immune from

antitrust scrutiny under the Noerr-Pennington doctrine.          The FTC’s current position that

ViroPharma’s conduct was a “sham” is directly at odds with the facts properly before the Court,

including contemporaneous representations that the government made to other courts about the

complexity of the scientific issues raised by ViroPharma’s citizen petition, which the FTC

chooses simply to ignore.

I.     SECTION 13(b) DOES NOT AFFORD THE FTC A RIGHT OF ACTION

       As explained in ViroPharma’s opening brief, and as the FTC does not dispute, the FTC’s

power to act is limited to the statutory authority delegated to it by Congress. See D.I. 20,

Opening Br. in Supp. of Mot. to Dismiss (“MTD”) at 11. Because the FTC lacks authority to file

this action pursuant to Section 13(b), the Court lacks jurisdiction to hear it. 28 U.S.C. § 1345

(“[T]he district courts shall have original jurisdiction of all civil actions . . . commenced . . . by

any agency . . . expressly authorized to sue by Act of Congress.”).

       A.      The FTC’s Authority to “Bring Suit in a District Court” Is Limited to Cases
               in Which the Defendant “Is Violating” or “Is About to Violate” The Law

       On its face, Section 13(b) requires the FTC to plead that ViroPharma “is violating, or is

about to violate” a law enforced by the FTC in order to “bring suit in a district court of the

United States to enjoin any such act or practice.” 15 U.S.C. § 53(b). The statute is clear and

unambiguous. Because the FTC has alleged neither an ongoing nor imminent violation of the

FTC Act, the Complaint must be dismissed.


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        In its response, the FTC offers three competing interpretations of Section 13(b). See D.I.

22, Opp’n to Mot. to Dismiss (“Opp.”) at 8-9, 9-11, and 19-20. None of those interpretations can

be squared with the statute’s express language.

                1.      The FTC’s Flawed Interpretation No. 1: That It Has Authority to Sue in
                        Federal Court in Any Case In Which It Seeks A Permanent Injunction

        The FTC first argues that the language limiting its Section 13(b) authority to cases in

which there is “reason to believe” that the defendant “is violating, or is about to violate” the law

does not apply to suits seeking permanent injunctions. See Opp. at 8-9. That interpretation is not

faithful to the text of Section 13(b).

        Any statutory interpretation “begin[s], as [it] must, with a careful examination of the

statutory text.” Henson v. Santander Consumer USA, Inc., 582 U.S. __ (2017), slip op. at 3. The

FTC’s authority to “bring suit in a district court of the United States” is defined in the first

sentence of Section 13(b):

        Whenever the Commission has reason to believe . . . that any person, partnership,
        or corporation is violating, or is about to violate, any provision of law enforced
        by the Federal Trade Commission . . . the Commission . . . may bring suit in a
        district court of the United States to enjoin any such act or practice.

15 U.S.C. § 53(b) (emphasis added).

        Ignoring this clear statement governing the limited circumstances in which the FTC “may

bring suit” in federal court, the FTC focuses instead on a subsequent proviso in Section 13(b)

that allows the FTC, once properly in federal court, to seek a permanent injunction where

warranted. See id. (“Provided further, that in proper cases the FTC may seek, and after proper

proof, the court may issue, a permanent injunction.”) (emphasis added). If Congress intended

that proviso to be an independent grant of authority to sue in federal court in any case where the

FTC seeks a permanent injunction regardless of the need for immediate relief, as the FTC argues,

it would have used the same language concerning “bring[ing] suit” that it used in the first
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sentence of Section 13(b). It did not. See Henson, slip op. at 6 (“And, usually at least, when

we’re engaged in the business of interpreting statutes we presume differences in language . . .

convey differences in meaning.”).

        Moreover, the FTC’s interpretation would effectively eliminate any limitation on its

ability to sue in federal court, because the FTC presumably would seek some injunctive relief in

every case regardless of whether the violation was in the past, present, or future.                         That

interpretation would also render the first sentence of Section 13(b) a nullity, because the right to

seek a permanent injunction implies a right to seek a preliminary injunction as well. See, e.g.,

FTC v. H.N. Singer, Inc., 668 F.2d 1107, 1111 (9th Cir. 1982) (“It is clear that, because the

district court has the power to issue a permanent injunction to enjoin acts or practices that violate

the law enforced by the Commission, it also has authority to grant whatever preliminary

injunctions are justified by the usual equitable standards . . . .”). It is a basic canon of statutory

construction that the Court must avoid constructions that render portions of statutes superfluous

or a nullity. Rosenberg v. XM Ventures, 274 F.3d 137, 141 (3d Cir. 2001) (a statute must be

interpreted so as to “give meaning to every word which Congress used” and to “avoid an

interpretation which renders an element of the language superfluous”).

        Given the clear statutory language, it is not surprising that none of the cases the FTC cites

hold that the “is violating, or is about to violate” limitation is inapplicable in cases in which the

FTC seeks a permanent injunction. Indeed, the FTC does not – and cannot – cite a single

decision holding that it is authorized under Section 13(b) to invoke the jurisdiction of the federal

courts in the absence of misconduct that “is” or “is about to” occur.1


1
  The FTC cites FTC v. Virginia Homes Manufacturing Corporation, 509 F. Supp. 51 (D. Md. 1981), to suggest the
“is violating, or is about to violate” requirement need not be met for the FTC to seek a permanent injunction. See
Opp. at 9. However, the court in that case declined to decide whether the FTC may seek a permanent injunction on
the basis of past misconduct because the FTC had also alleged ongoing misconduct. 509 F. Supp. at 55.

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         The cases cited by the FTC in which courts have recognized that it need not have filed an

administrative complaint before seeking a permanent injunction2 do not support the expansive

authority the FTC seeks here. In those cases, the courts were not asked, and did not decide,

whether the FTC had authority to sue in federal court in the absence of ongoing or imminent

misconduct. Rather, they simply concluded that Section 13(b) does not impose a separate

requirement that the FTC file an administrative proceeding before seeking a permanent

injunction once the jurisdiction of the federal courts has been properly invoked. See, e.g., JS&A

Grp., Inc., 716 F.2d at 457. Of course, that conclusion makes sense; once the FTC is properly in

federal court because of the need for immediate action, it would serve no purpose to require it to

conduct an administrative proceeding before returning to court to seek a permanent injunction.

         The FTC’s policy arguments also do not help its cause. First, the Court cannot and

should not consider policy arguments when, as here, the statutory text is clear and unambiguous.

Henson, slip op. at 8-9. Second, the arguments are wrong. The FTC claims that its enforcement

agenda will be hampered if its authority to bring suits in federal court is limited to cases in which

the defendant “is violating, or is about to violate” the law. Opp. at 12.3 That argument ignores

the primary enforcement authority granted to the FTC by Congress: its authority to bring

2
 See United States v. JS&A Grp., Inc., 716 F.2d 451 (7th Cir. 1983); H.N. Singer, Inc., 668 F.2d 1107; FTC v.
Commonwealth Mktg. Grp., Inc., 72 F. Supp. 2d 530 (W.D. Pa. 1999).
3
  The FTC mischaracterizes its own suits. In each of the cases that the FTC claims it would be precluded from
pursuing, the complaints contained allegations of an ongoing violation. See Compl. ¶ 5, JS&A Grp., Inc., 716 F.2d
451 (complaint alleged defendant corporation’s president directed serial violations of FTC mail order rules and
continued to “formulate[], direct[], and control[] the policies, acts, and practices” of the corporation); Am. Compl.
¶ 13, H&N Singer, Inc., 668 F.2d 1107 (complaint alleged defendants’ violations of FTC franchising rules were
“continuing” at the time of suit); Commonwealth Mktg. Grp., Inc., 72 F. Supp. 2d at 533-34 (describing the FTC’s
pursuit of injunctive relief the day before raiding defendant’s offices to seize evidence of ongoing fraud); Va. Homes
Mfg. Corp., 509 F. Supp. at 52-53 (recounting defendant’s ongoing refusal to notify warranty holders that their
warranties had been modified to correct misleading terms). The FTC laments that under ViroPharma’s “myopic”
reading of Section 13(b) it could not have brought an action in district court against Volkswagen following the
“Clean Diesel” scandal. See Opp. at 12. But in that case the FTC’s complaint alleged not only that Volkswagen
continued to sell defective cars at the time the complaint was filed, but that the harm to the environment was
ongoing. See D.I. 1, Compl. ¶¶ 21, 38, FTC v. Volkswagen Grp. of Am., Inc., No. 3:16-cv-01534-CRB (N.D. Cal.
Mar. 29, 2016). The complaints in JS&A Group, Inc. and H&N Singer, Inc. are only available in hard copy from the
court archives; they are included as Tab 1 and Tab 2, respectively, of the Appendix filed herewith.

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administrative enforcement proceedings pursuant to Section 5 of the FTC Act and to issue

binding cease and desist orders in cases where the defendant “has been or is using any unfair

method of competition.” 15 U.S.C. § 45(b).

       That administrative authority was intended by Congress to be the primary means through

which the FTC fulfills its enforcement mission. Indeed, it was the only authority granted the

FTC for the first several decades of its existence. Congress expanded that authority in 1973 to

allow the FTC to sue in federal court to address a specific perceived problem. Although Section

5 is fully capable of remedying past misconduct, the ability of the administrative process to

address ongoing unlawful conduct was viewed as inadequate because it took too long. Congress

thus enacted Section 13(b) to “permit the [FTC] to bring an immediate halt to unfair or deceptive

practices when . . . . [a]t the present time such practices might continue for several years until

agency action is completed.” S. Rep. No. 93-151, at 30 (1973); see also MTD at 13-14, n.11.

The FTC makes no mention of this legislative history, much less offers a competing view.

               2.      The FTC’s Flawed Interpretation No. 2: That It Need Only Allege A
                       “Cognizable Danger” of Recurrent Violation At Some Point in the Future

       The FTC alternatively argues that it has authority to sue in federal court so long as it can

allege a “cognizable danger of recurrent violation.” Opp. at 9-11. Once again, the FTC’s

position is not faithful to the text of Section 13(b), which specifically addresses conduct that is

occurring or is about to occur, not whether there is some “cognizable danger” that a violation

will occur at some point in the future.

       Neither of the Section 13(b) cases that the FTC cites to support this alternative

interpretation holds that the FTC has the authority it seeks. See id. at 10-11. One of the cited

cases involved challenges to the relief the FTC sought, claiming that facts justifying that relief

had not been alleged. See FTC v. Engage-A-Car Servs., Inc., No. 86-3758, 1986 WL 15066, at


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*5 (D.N.J. Dec. 18, 1986).4 The other case applied a likelihood of recurrence standard that the

defendants urged on the court, without considering the dictates of Section 13(b). See FTC v.

Citigroup Inc., 239 F. Supp. 2d 1302, 1305-06 (N.D. Ga. 2001).

        The FTC argues that ViroPharma’s “interpretation of Section 13(b)’s permanent

injunction proviso makes no sense” because it would “create situations when the [FTC] has made

a showing that it can obtain injunctive relief but does not have standing to sue for such relief.”

Opp. at 11 (citation omitted). But there is no illogic in Congress’s express limitations on the

FTC’s authority under Section 13(b). Where a defendant “has been” or “is” violating the law,

the FTC may initiate an administrative proceeding under Section 5, as it has always done, and

later seek to enforce its orders in district court. 15 U.S.C. § 45(b). By contrast, the FTC may

only invoke its limited Section 13(b) authority where there is a need for immediate relief that

cannot await the outcome of the administrative process: i.e., where the defendant “is violating, or

is about to violate” the law. See FTC v. Evans Prods. Co., 775 F.2d 1084, 1087-88 (9th Cir.

1985); FTC v. Merch. Servs. Direct, LLC, No. 13-CV-0279-TOR, 2013 WL 4094394, at *3

(E.D. Wash. Aug. 13, 2013).5




4
 The FTC also relies on various cases brought by the SEC that likewise addressed questions about the “standard to
determine if an injunction should issue,” Opp. at 11, rather than whether the agency had authority to sue in federal
court in the first place.
5
  Congress’s amendment of the Investment Advisors Act of 1940 (“‘40 Act”) shortly before Section 13(b) was
enacted is instructive. Prior to 1960, the ‘40 Act allowed the SEC to seek an injunction in federal court only where
the defendant “has engaged or is about to engage” in a violation of law. Recognizing that that language did not
“specifically provide that the [SEC] may bring an action for an injunction when it appears that any person is
engaged in prohibited acts,” H.R. Rep. No. 2179, at 8 (1960), Congress amended the statute to permit the SEC to
seek an injunction where the defendant “has engaged, is engaged, or is about to engage” in misconduct. See 15
U.S.C. § 80b-9(d) (emphasis added). Clearly, Congress could have used this same “past, present, future” structure
in Section 13(b) if it intended to give the FTC authority to sue in federal court based on past conduct, but did not.

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                  3.       The FTC’s Flawed Interpretation No. 3: That There Are No Limits On Its
                           Authority to File Suits in Federal Court For “Monetary Equitable Relief”
                           Regardless of The Need For An Injunction

         Finally, the FTC asserts a position that is even further removed from the actual text of

Section 13(b), claiming it may sue in federal court for “monetary equitable relief” “[e]ven

without a likelihood of recurrence.” Opp. at 19-20. This remarkable argument suffers from the

same error as the FTC’s other arguments: it confuses and conflates the standards governing the

Court’s authority to order relief once it has jurisdiction with the standards governing the FTC’s

authority to file a lawsuit in federal court pursuant to Section 13(b).

         The FTC’s reliance on cases in which some relief other than an injunction was ultimately

granted, even though injunctive relief was denied, are entirely inapposite. ViroPharma’s motion

challenges the FTC’s authority to file this action in the first place. The question of whether the

Court has authority to grant some remedy other than those specified in the statute once its

jurisdiction has been properly invoked (a dubious proposition in light of recent Supreme Court

precedent) remains for another day, should this case proceed beyond the Rule 12 stage.6 Simply

put, the FTC has not paid the price of admission necessary to get to that question.

         B.       The Complaint Does Not Satisfy Even The FTC’s Relaxed Pleading Standard

         Plainly, the reason that the FTC strains to re-write Section 13(b) is because it cannot

satisfy the statute’s express requirements. But, even if the statute were rewritten to replace

“about to” with “cognizable danger of recurrent violation at some point in the future,” or to
6
  The Supreme Court recently held in an analogous case considering an SEC disgorgement action that disgorgement
is a penalty rather than an equitable remedy. See Kokesh v. SEC, 581 U.S. __ (2017). The question presented in
Kokesh was whether a 5-year statute of limitations for government actions seeking a “civil fine, penalty, or
forfeiture” applied to actions that, like this case, seek disgorgement. The Court unanimously held that it did because
disgorgement was punitive. Although the Court was not asked to address and did not decide whether a statutory
provision exactly like FTC Act Section 13(b) that makes no mention of the authority to seek disgorgement could be
construed to grant such authority at all, see id. slip op. 5 n.3, at least five Justices expressed skepticism at oral
argument. See, e.g., Tr. of Oral Arg. at 31-32 (argued Apr. 18, 2017) (Roberts, C.J., questioning whether Congress
had authorized the SEC to seek disgorgement, or whether “it’s something that the government kind of devised on its
own”); see also id. at 7-8 (Kennedy, J.); 9 (Sotomayor, J.); 13, 15-16 (Alito, J.); 52 (Gorsuch, J.). The transcript of
oral argument in the Kokesh case is included at Tab 3 of the Appendix.

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permit the FTC to sue in federal court whenever it can plead a basis for a permanent injunction,

the Complaint still fails. The FTC cannot point to a single allegation in its Complaint plausibly

suggesting that ViroPharma is likely to violate the law. In its response, the FTC relies heavily on

its allegations regarding conduct that occurred years ago, but it concedes that such allegations are

insufficient to meet the standard it advocates. See Opp. at 15 (“To be sure, the mere existence of

some past violation does not standing alone justify injunctive relief.”). That leaves the FTC to

rely upon just two conclusory and legally-insufficient allegations in its Complaint. See id. at 14

(citing Compl. ¶ 150 (asserting a “cognizable danger” that ViroPharma will engage in

misconduct in the future); id. ¶ 151 (claiming ViroPharma “could” commit future misconduct

because it has the “incentive and opportunity” to do so)); see also MTD at 14-16.

        Tellingly, there are no allegations that ViroPharma has engaged in any similar conduct in

the last five years, which alone puts the lie to the FTC’s unsubstantiated assertions about

potential future violations. The FTC does not dispute that ViroPharma (1) no longer owns the

rights to Vancocin, and (2) is not alleged to have filed a single petition (“sham” or otherwise)

with respect to any other product or issue before, during, or after the time period at issue in this

case. See MTD at 17.

        C.       Recurrence Is Highly Unlikely, If Not Impossible

        Not only has the FTC – which has the burden here – failed to plead any likelihood that

ViroPharma’s alleged conduct will recur, but ViroPharma has proffered numerous bases on

which the Court should reasonably conclude that no such conduct could occur.7 Critically, even

if there were some basis to allege that ViroPharma might try to delay generic entry of some

unidentified product through sham petitioning in the future, an intervening change in the law


7
 The FTC does not dispute that the Court may properly consider the matters of public record cited in ViroPharma’s
motion to dismiss, including SEC filings and reports of federal agencies. See MTD at 3 n.1, 18 n.15.

                                                       8
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prevents it. Congress’s 2007 amendment of the Food, Drug, and Cosmetic Act (“FDC Act”)

eliminated any threat of improper delay in the generic approval process resulting from baseless

petitioning. As explained in ViroPharma’s opening brief, those amendments added FDC Act

Section 505(q), 21 U.S.C. § 355(q), in which Congress directed that the FDA “shall not delay

approval of a pending application . . . because of any request to take any form of action . . .

unless . . . the [FDA] determines . . . that a delay is necessary to protect the public health.” Id. at

(q)(1)(A)(ii) (emphasis added); see also MTD at 17-18. Section 505(q) empowered the FDA to

comply with that requirement by granting it the authority to summarily deny any petition

submitted for the primary purpose of delaying approval of a generic application. Id. at (q)(1)(E).

The FTC does not – and cannot – dispute the fact, established through the FDA’s own reports to

Congress, that no ANDA approval has been delayed as a result of supposedly baseless

petitioning since the 2007 amendment.                See MTD at 18-19.            Instead, the FTC cites the

generalized concerns expressed by the FDA that the change in the law has not “curbed the filing

of frivolous petitions” nor permitted it to dispose of those petitions “without expending

substantial amounts of resources.” Opp. at 18. But, even accepting those statements as true,

they do not contradict the factual reports to Congress showing the complete absence of any

instance in which approval of an ANDA was delayed because of a sham petition.8 The antitrust

laws are concerned with harm to competition, not generalized concerns by a federal agency

about the impact of alleged conduct on its budget. See MTD at 19 n.17.9

8
 It is not ViroPharma’s position that the number of improperly delayed ANDAs is “small,” as the FTC suggests.
Opp. at 18. The FDA’s reports to Congress show that the number is “zero.” See MTD at 16-18.
9
  The FTC cites In re Suboxone Antitrust Litigation, 64 F. Supp. 3d 665 (E.D. Pa. 2014), to argue that “delay due to
a sham citizen petition remain[s] plausible even after the enactment of Section 505(q).” Opp. at 18. But Suboxone
said no such thing. Rather, it simply quoted verbatim from the complaint in that case the plaintiffs’ allegation that
the FDA cannot discern whether or not petitions raise public health concerns, see 64 F. Supp. 3d at 690-91 – an
allegation not made here. What is more, the Suboxone court made no mention of – and apparently did not consider –
the FDA’s reports to Congress establishing that there have been no instances of undue delay due to sham petitioning
since the enactment of Section 505(q).

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         Finally, the FTC seeks to circumvent the distinct unlikelihood of future misconduct by

claiming that an inquiry of this sort is premature at the pleadings stage. Opp. at 15-16. That

assertion is simply not correct. Courts routinely assess the adequacy of allegations about future

misconduct in evaluating motions to dismiss.10 They do so for good reason: those allegations are

an essential element of the FTC’s claim. Indeed, the FTC itself concedes that, even under its

standard, it bears the burden to proffer some allegation of a “cognizable danger of recurrent

violation,” United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953); failure to carry that

burden must result in dismissal. See MTD at 15.

II.      VIROPHARMA’S CONDUCT IS PROTECTED PETITIONING ACTIVITY
         UNDER THE NOERR-PENNINGTON DOCTRINE

         The FTC’s response to ViroPharma’s showing that the Complaint must be dismissed

because ViroPharma’s conduct is immune from antitrust scrutiny under the Noerr-Pennington

doctrine is similarly unavailing. The FTC has failed to plead a basis to apply the sham exception

here.

         A.       The FTC Cannot Avoid Noerr-Pennington Scrutiny On A Motion to Dismiss

         First, the FTC relies on a handful of non-binding decisions by other courts to argue that

the question of whether ViroPharma engaged in sham petitioning cannot be resolved on a motion

to dismiss. See Opp. at 22-23, n.17. The Court should reject that contention out of hand.

         The authority that the FTC cites is directly at odds with decisions of the Supreme Court,

the Third Circuit, and this Court. See, e.g., Prof’l Real Estate Inv’rs Inc. v. Columbia Pictures

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  See, e.g., In re DDAVP Indirect Purchaser Antitrust Litig., 903 F. Supp. 2d 198, 210 (S.D.N.Y. 2012) (granting
motion to dismiss on grounds that plaintiff’s allegations of a likelihood of future misconduct were “wholly
speculative”); In re Ductile Iron Pipe Fittings Indirect Purchaser Antitrust Litig., No. 12-169, 2013 WL 5503308, at
*6 (D.N.J. Oct. 2, 2013) (dismissing claim on grounds that “past exposure to illegal conduct does not itself show a
present case or controversy”) (citation and alteration omitted); In re Plavix Indirect Purchaser Antitrust Litig., No.
1:06-cv-226, 2011 WL 335034, at *4 (S.D. Ohio Jan. 31, 2011) (“[M]ere[] speculat[ion] that Defendants’ previous
behavior . . . leads to the assumption that Defendants will engage in [similar future behavior]” is insufficient to
survive a motion to dismiss).

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Indus., Inc., 508 U.S. 49, 63 (1993) (“PRE”) (“[A] court may decide probable cause as a matter

of law.”); Hanover 3201 Realty, LLC v. Village Supermarkets Inc., 806 F.3d 162, 202 (3d Cir.

2015) (Greenberg, J., dissenting on other grounds) (“Where the complaint fails at least to raise a

question of fact on a sham petitioning issue, a court may reject the claim by granting a motion to

dismiss.”); Arthrocare Corp. v. Smith & Nephew, Inc., No. 01-504-SLR, 2004 WL 896002, at *4

(D. Del. Mar. 10, 2004) (granting motion to dismiss under Noerr-Pennington where defendant’s

initiation of prior legal proceedings was a “legitimate attempt” to vindicate its interests).11

         Moreover, the FTC’s position – that application of Noerr-Pennington may be considered

only after the defendant has endured expensive and burdensome discovery – is directly at odds

with the doctrine’s basic aim of “prevent[ing] any undue chilling of First Amendment activity.”

Hanover 3201 Realty, 806 F.3d at 180; see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558

(2007) (recognizing the importance of addressing the adequacy of antitrust complaints before

“allowing a potentially massive factual controversy to proceed”) (citations omitted).

         B.       The FTC Cannot Evade The “Objectively Baseless” Standard By Labeling
                  ViroPharma’s Conduct A “Pattern”

         The Noerr-Pennington doctrine affords those who exercise their First Amendment right

to petition the government “broad immunity” from antitrust liability. Hanover 3201 Realty, 806

F.3d at 178. The FTC bears the burden of alleging and ultimately proving that ViroPharma’s

petitioning falls within the “very narrow scope” of Noerr-Pennington’s sham exception. Trs. of

Univ. of Pa. v. St. Jude Children’s Research Hosp., 940 F. Supp. 2d 233, 245, 247 (E.D. Pa.

2013) (citation omitted); see also MTD at 21. As both parties acknowledge, the sham exception


11
   The single unpublished District of Delaware case cited by the FTC asserts that the question of whether underlying
litigation is baseless is a “factual issue.” Shionogi Pharma, Inc. v. Mylan, Inc., No. 10-1077, 2011 WL 3860680, at
*6 (D. Del. Aug. 31, 2011). In that case, however, the baselessness inquiry involved a counterclaim for which there
was no record of any kind, and would have required the court to determine the validity of a complex patent. See id.
Clearly, this Court is permitted to consider facts at the motion to dismiss stage, so long as those facts are properly
before it. See Hartig Drug Co. Inc. v. Senju Pharm. Co. Ltd., 836 F.3d 261, 268 (3d Cir. 2016).

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is analyzed somewhat differently depending on whether the defendant has engaged in a “pattern”

of “sham” petitions. Compare PRE, 508 U.S. at 60 (a single petition must be “objectively

baseless”), with Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 512-13 (1972) (a

pattern of petitions must have been filed “with or without probable cause, and regardless of the

merits” such that the “administrative and judicial processes [were] abused”). Here, there should

be no doubt that ViroPharma’s petitioning was not a “pattern” designed to deprive potential

rivals of access to administrative proceedings.

         The FTC relies heavily on the framework the Supreme Court laid out in California

Motor.    However, that standard only applies to circumstances in which the defendant has

launched a meritless, multi-front attack in order to block the plaintiff’s access to the adjudicatory

process and to drive up the plaintiff’s cost of doing business. See Cal. Motor Transp., 404 U.S.

at 512 (describing defendant’s efforts to “deprive the competitors of meaningful access to the

agencies and courts”); Hanover 3201 Realty, 806 F.3d at 182 (requiring proof of a “policy of

harassment with the effect of obstructing [plaintiff]’s access to governmental bodies” and the

imposition of “significant expense”). Such circumstances are entirely absent here.

         Although the FTC attempts to position this as a “pattern” case by mischaracterizing and

double counting the number of filings at issue, ViroPharma filed one citizen petition with one

regulator (the FDA) for one purpose (the continuation of the bioequivalence testing method). As

ViroPharma explained in its opening brief, all of the additional filings alleged to have caused

competitive harm were submitted in support of that single citizen petition directed to the federal

agency charged with making the decision. See MTD at 26-29. No competitor to ViroPharma

was a party to those proceedings, and there is no allegation that ViroPharma’s petitioning

imposed costs on competitors or obstructed their access to the FDA or any tribunal. In these



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circumstances, it is not the California Motor framework, but the PRE “objectively baseless”

standard, that applies.12

         The FTC’s arguments to the contrary are unpersuasive. For example, the FTC asserts

that ViroPharma’s petitioning should be subjected to a pattern analysis because its citizen

petition filings were “strategically timed” to cause delay.                    Opp. at 25.        The FTC’s own

allegations make clear, however, that ViroPharma made only three submissions on the citizen

petition docket after July 2010, the earliest date that the Complaint alleges a generic form of

Vancocin was ready for FDA approval, Compl. ¶ 147, and two of those three filings were

separated by an eleven-month period in which no filings were made at all, id. ¶ 118. The FTC’s

only response to this fundamental flaw in its theory is to point to the vague assertion in the

Complaint that generic entry might have occurred “even earlier” than July 2010. Opp. at 25-26

(citing Compl. ¶ 147). Not only is that assertion completely unsupported by any well-pled

factual allegations, but it is contradicted by the position taken by the government in other

proceedings that make clear that in late 2011 the FDA was still wrestling with the complex

scientific issues regarding the appropriate bioequivalence standard to apply. MTD at 9-10, 25.

         Likewise, the FTC urges the application of a California Motor pattern analysis on the

basis of ViroPharma’s lawsuits and public comments. Opp. at 24-25. As ViroPharma explained,

however, the Complaint does not allege that any of these filings caused (or was even capable of

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   See, e.g., Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 413-14 (3d Cir. 2016) (multiple claims in the same
lawsuit treated as a single proceeding); P.R. Tel. Co., Inc. v. San Juan Cable Co. LLC, 196 F. Supp. 3d 248, 323
(D.P.R. 2016) (“[P]etitions and motions filed within the same litigation or proceeding . . . are not counted as separate
proceedings for analysis under PRE or California Motor Transport.”); In re Flonase Antitrust Litig., 795 F. Supp. 2d
300, 312 n.14 (E.D. Pa. 2011) (multiple FDA filings on the same topic “comprise a single instance of petitioning the
FDA”); In re Terazosin Hydrochloride Antitrust Litig., 335 F. Supp. 2d 1336, 1360 (S.D. Fla. 2004) (separate
lawsuits are part of the same proceeding where “they all involved the same patent and the same underlying legal
issue”). The FTC’s attempts to distinguish the multiple filings that may be made in a single lawsuit from multiple
filings in support of a single citizen petition on the basis that there are procedural rules that govern litigation make
no sense. Those procedural rules do not prevent multiple filings; and there is certainly nothing, for instance, in the
litigation process that precludes asserting multiple claims for relief in a single lawsuit, which courts have also
universally concluded must be evaluated under the PRE standard.

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causing) delay. See MTD at 28-29. In response, the FTC cites to various inapposite allegations

in its Complaint. Opp. at 25 (citing Compl. ¶¶ 1, 53, 68, 128, 144, 147-49). However, other than

a passing reference to “regulatory and court filings” in paragraph 1, none of these allegations

even mentions ViroPharma’s lawsuits or public comments, much less alleges facts as to how

they may have caused delay or other anticompetitive effects. The FTC’s argument is reduced to

the basic allegation that ViroPharma’s single citizen petition (and the supplements thereto)

caused competitive harm – the quintessential set of facts to which PRE’s objective baselessness

inquiry applies.

       C.      ViroPharma’s Conduct is Immune Under Either Standard

       Regardless of whether this case is viewed as involving a single petition under PRE, or a

series of petitions under California Motor, the Court must evaluate whether ViroPharma had

“probable cause” to believe that it had some (even if small) chance of success. See PRE, 508

U.S. at 62 (“The existence of probable cause to institute legal proceedings precludes a finding

that an antitrust defendant has engaged in sham litigation.”); Cal. Motor Transp., 404 U.S. at

512-13 (holding that a pattern of baseless petitions may be considered a sham, even if some

prove to have merit, if the overall pattern is to institute proceedings “without probable cause”).

The probable cause determination is objective and “requires no more than a reasonable belief

that there is a chance that a claim may be held valid upon adjudication.” PRE, 508 U.S. at 62-63

(citation, internal quotation marks, and alterations omitted); see also MTD at 21-22.

       The FTC argues that ViroPharma’s filings were shams because ViroPharma did not

submit “supporting clinical data” despite the advice of its consultants that it should and thus

supposedly “knew that its petitioning campaign was unlikely to persuade the FDA . . . .” Opp. at

5, 29 (emphasis added); see also Compl. ¶ 53 (alleging ViroPharma’s subjective belief that the

petitioning was “unlikely to succeed”).       But that is not the standard.      Under the law,
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ViroPharma’s petition was not a “sham” so long as, objectively, there was probable cause to

believe that it might be successful. The FTC’s allegations alone establish that ViroPharma had

probable cause to believe that its petition might be successful. Most notably, the Complaint

acknowledges that ViroPharma’s position was one that the FDA itself had held for years. See

Compl. ¶ 43. It could not have been objectively unreasonable for ViroPharma to believe that the

FDA could be convinced to return to its own standard.          The Complaint also pleads facts

establishing that the FDA viewed the question of the appropriate bioequivalence standard as

highly complex, even deeming it necessary to convene two separate independent advisory

committees to consider the issue. Id. ¶¶ 70-72, 80-85. Likewise, in separate federal court filings

years after the petition was filed, the FDA repeatedly represented that it still had not decided

whether to accept the arguments made by ViroPharma and adopt the bioequivalence standard it

urged. See MTD at 25. Surely, if ViroPharma’s position was truly baseless it would not have

taken the FDA six years and multiple panels of experts to figure that out.

III.   CONCLUSION

       For the reasons set forth in ViroPharma’s motion to dismiss and this reply, the Complaint

should be dismissed.




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                                   Respectfully submitted,



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